                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:93CR28-04


UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                    ORDER
                                    )
FREDERICK L. JOHNSON                )
____________________________________)

      THIS MATTER IS BEFORE THE COURT upon defendant’s pro se “Motion to
Terminate Supervised Release” filed October 25, 2006 [doc. 50].

      For cause shown, the motion is GRANTED effective the date of the signing of this Order.

      IT IS SO ORDERED.

                                             Signed: November 8, 2006




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